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                                                 SPECIAL SERVICING AGREEMENT

              This Special Servicing Agreement, dated as of March 1, 2009 (this "Agreement"), is
      entered into by and among First Marblehead Education Resources, Inc. ("FMER"), as the Special
      Servicer (together with its successors and assigns, the "Special Servicer''), U.S. Bank National
      Association, as the Back-Up Special Servicer (the "Back-Up Special Servicer") and each of the
      Trusts listed on Schedule A attached hereto (the "Trusts").

              WHEREAS, the Special Servicer, and other subservicing agents appointed from time to
      time by the Special Servicer, as provided herein, are experts in the management of student loan
      collections and default prevention services;

              WHEREAS, each of the Trusts is appointing the Special Servicer as a Servicer under
      each Trust's respective Indenture, as listed on Schedule A attached hereto (the "ln4entgr~"), to
      perform certain limited duties with respect to student loans (the "Student Loan~") owned by the
      Trusts, including Student Loans that are delinquent or deflmlted loans ("Delinquent Loans" and
      "Defaulted Loans," as defined below).

             WHEREAS, the Trusts are appointing the Back-Up Special Servicer to serve in such
      capacity pursuant to the provisions of this Agreement;

             NOW, THEREFORE, in consideration of the premises and the mutual covenants
      hereinafter set forth, the parties agree as follows:

             Section 1.      Definitions. Capitalized tenus used and not otherwise defined herein shall
      have the meanings assigned to such tenus in the Indentures. For purposes of this Agreement, the
      following capitalized terms shall have the respective meanings set forth below:

               "Defaulted Loan" means any Student Loan as to which any of the following: (a) a TERI
      Guaranty Event has occurred, (b) the Servicer has determined that a TERI Guaranty Event has
      occurred and has submitted documents supporting that determination to the Special Servicer or
      (c) if the Student Loan is no longer subject to a valid TERI Guaranty Agreement, the Servicer
      has detem1ined that a borrower has defaulted under his respective student loan credit agreement
      and has notified the Special Servicer of such occurrence.

             "Delinquent Loan" means a Student Loan that is at least 31 days past due but is not yet a
      Defaulted Loan.

                     Section 2.               Appointment: Special Servicing Duties.

              A.     6,ppointm9nt. Each of the Trusts hereby hires, designates and appoints the
      Special Servicer as a Servicer under each Trust's respective Indenture to perform the special
      servicing duties (as defined below), and the Special Servicer accepts such appointment and
      agrees to perform such duties with respect to the Student Loans, including Delinquent Loans and
      De!imlted Loans, in accordance with the tem1s of this Agreement and each Indenture.

              B.     Special Services. The Special Servicer shall take such actions as it shall deem
       reasonably necessary or appropriate to administer and oversee Early Awareness Services (as


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      defined below) with respect to Student Loans as generally described below and the enforcement
      and collection of Delinquent Loans and Defaulted Loans to maximize the collection of amounts
      payable on the Student Loans (collectively, the "Special Services"), including without limitation:

                       (i)     Retaining and entering into agreements with licensed collection agencies
                               and other legally authorized persons (the "Subservicers") engaged in
                               providing default prevention services, in form and substance satisfactory
                               to the Special Servicer, pursuant to which the Subservicers, for and on
                               behalf of the applicable Trust, will contact bonowers with respect to the
                               Student Loans, including \\~thout limitation borrowers with respect to
                               Delinquent Loans or Defaulted Loans, and seek enforcement and
                               collection of such Loans;

                       (ii)    At the sole discretion of the Special Servicer, (a) perf(llming periodic
                               audits of Subservicers for compliance and performance reviews and (b)
                               providing oversight of the activities of Subservicer with regard to account
                               management, litigation assistance, and/or settlement strategies;

                       (iii)   Replacing any Subservicer who, in the sole judgment of the Special
                               Servicer, is deemed to be deficient or negligent in performing the duties
                               outlined in its subscrvicing agreement with the Special Servicer;

                       (iv)    Requiring in the applicable subservicing agreement, the Subservicers to
                               provide certain monthly reports to the Special Servicer with respect to
                               Student Loans serviced by such Subservicer, in each case, in form and
                               substance satisfactory to the Special Servicer;

                       (v)     With respect to Student Loans, retaining one or more Subservicers to
                               perform Early Awareness Services. "Earlv Awareness Services" shall
                               mean such services determined by the Special Servicer to be desirable to
                               reduce the number and percentage of student borrowers becoming
                               subsequently delinquent in the repayment process, including witbout
                               limitation, services that are intended to alert student borrowers and
                               cobonowers as to their repayment obligations, available borrower benefits
                               (such as ACH automatic payments) and contact information for the
                               Servicer, Early Awareness Services may include both telephonic and mail
                               contacts, as well as address veritication and skip tracing;

                        (vi)   With respect to Delinquent Loans, the Special Servicer shall transfer all
                               collection activities from the applicable Servicer to Subservicers who will
                               seek enforcement and collection of sucb Loans and provide monthly
                               reports to lhe Special Servicer in fonn and substance satisfactory to the
                               Special Servicer, provided that the Special Servicer shall not be required
                               to transfer such collection activities if First Marblehead Data Services, Inc.
                               ("FMDS") is the Administrator and FMDS determines that collections
                               would not be maximized on such Delinquent Loans if the collection
                               activities were transferred to Subservicers;



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                      (vii)     With respect to Defaulted Loans, review claim packages as described in
                                subparagraph (xi);

                      (viii)    With respect to Defaulted Loans that are the subject of a TERl Guaranty
                                Event, as determined by the Special Servicer: (a) submit a claim under the
                                Guaranty Agreement to TERI for the benefit of the Trust, andior (b) refer
                                the loan for collection by a Subservicer on behalf of such Trust;

                      (ix)      With respect to Defaulted Loans that are over 180 days delinquent, the
                                Special Servicer will cause the Subscrvicer to (a) roll or reassif,'Jl accmmts
                                from 180 days delinquent into a default recovery queue for collection
                                efforts and (b) remit weekly to the FMER Collection Account (as
                                hereinafter defined) for the receipt of collections from a Subservicer for
                                the benefit of the respective trusts as their interest may appear, cash
                                collected on all Defaulted Loans serviced by such Subservicer for the
                                Trusts,

                      (x)       Establishing and maintaining an accom1t or accounts ("FMER Collection
                                Account") in the nan1e of the Indenture Trustee (or its agent or custodian)
                                for benefit of the applicable secured parties of the Trusts nnder the
                                respective Indentures for the deposit by a Subservicer of net collections on
                                all Defaulted Loans serviced by such Subservicer for the respective Trust
                                and in connection therewith preparing or causing to be prepared such
                                control agreement or agreements as may be necessary or desirable to
                                maintain and preserve the lien and security interest therein of the
                                Indenture Trustee under the respective Indentures;

                      (xi)      Reviewing claim packages (which packages shall contain the information,
                                reports and documents required in the Program Manual for the related
                                TERI Guaranty Agreement and identified on the checklist or lists attached
                                hereto as Exhibit I) prepared by the Servicer with respect to Defaulted
                                Loans to confinn, on the basis of such review, that (a) Servicer has
                                complied with applicable servicing guidelines and (b) the loan originator
                                has complied with applicable prof,>ram guidelines;

                      (xii)     Receiving reports from Servicers and Subservicers related to payments
                                with respect to Delinquent Loans and Defaulted Loans and updating
                                records with respect to Student Loans as interest and other charges accrue
                                and amounts are collected;

                       (xiii)   Remitting or causing the Subservicer to remit net collections received on
                                Defaulted Loans to the FMER Collection Account;

                       (xiv)    With respect to Defaulted Loans, the Special Servicer shall transfer all
                                collection activities to Subservicers, provided that the Special Servicer
                                shall not be re£]Uired to transfer such collection activities if FMDS is the
                                Administrator and FMDS determines that it is likely that collections would



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                             not be maximized on such Defaulted Loans if the collection activities were
                             transferred to Subservicers;

                     (xv)    Retaining counsel on behalf of the applicable Trust (whether directly or
                             through collection agencies) to further pursue enforcement and collection
                             of Delinquent Loans and Defaulted Loans, including through litigation and
                             bankruptcy or probate proceedings; and

                     (xvi)   Negotiating any settlement or compromise of any claim with respect to a
                             Defaulted Loan, which in the reasonable judgment of the Special Servicer
                             or the applicable Subservicer is more likely to produce greater proceeds of
                             collection than by virtue of a forbearance, payment anangement or other
                             accommodation with the bonower,

              Section 3.     lncorooration. As of the date hereof, the definition of "Servicing
      Agreement" in each of the Indentures shall include this Agreement, the definition of "Servicer"
      in each of the Indentures shall include the Special Servicer and any Servicing Fee and other fees
      and expenses payable under this Agreement to the Special Servicer or the Back-Up Special
      Servicer shall be a "Servicing Fee" for purposes each of the Indentures.

              Section 4.     Subservicers. In carrying out its duties under this Agreement with
      respect to the Student Loans, including Delinquent Loans and Defaulted Loans, the Special
      Servicer may retain and employ Subservicers to perform any of the Special Services with respect
      to the Student Loans owned by any of the Trusts, and to commence any actions or proceedings
      the Subservicers deem necessary or appropriate in connection with such enforcement or
      collection efforts on such Student Loans, the costs of such services with respect to Delinquent
      Loans shall be subject to the Monthly Reimbursement Limit described in Section 5(B) below.

              Section 5.     Servicinu __fee. As compensation for the performance of the Special
      Servicer's obligations under tbis Agreement and as reimbursement for its expenses related
      thereto, the Special Servicer shall be entitled to a fee and expense reimbursement (the "Servicing
      Fee") payable from each Trust in accordance with the related Indenture on each Distribution
      Date consisting of:

             A.      A fixed fee at a rate equal to 1112 of 0.01% of the aggregate outstanding Pool
      Balance (for the Student Loans owned by such Trust) as of the last day of the prior calendar
      month.

              B.     Reimbnrsement by each Trust for all of the Special Servicer's expenses incurred
      in perfonning its obligations hereunder for such Trust, including all fees and expenses of all
      Subservicers and other persons appointed as agents of the Special Servicer pursuant to this
      Agreement and any other expenses incurred by the Special Servicer on behalf of each Trust,
      including costs and expenses incurred by the Special Servicer in establishing and maintaining the
      FMER Collection Account; provided that the fees and expenses of Subservicers with respect to
      collections on Defaulted Loans shall be paid from such collections prior to remittance to such
      FMER Collection Account, as described in Section 2(B)(x) and (xiii) above. The reimbursement
      described in this Section 5(B) with respect to Special Services for Delinquent Loans (but not



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     with respect to Early Awareness Services for Student Loans or with respect to Special Services
     for Defaulted Loans) shall not exceed the dollar amount listed for each Trust on Schedule B,
     attached hereto, in the aggregate per calendar month per respective Trust (the "Monthly
     Reimbursement Limit"). The reimbursement described in this Section 5(B) with respect to
     Special Services for Early Awareness Services for Student Loans shall not exceed the dollar
     amount listed for each Trust on Schedule C, attached hereto, in the aggregate for each such Trust
     until its respective Indenture is discharged.

              C.      The Administrator of each Trust may (and shall, at the direction of the Back-Up
      Special Servicer if it shall be acting as Special Servicer) arrange direct payments of the Servicing
      Fee from each Tmst to the Subservicers by delivering w6tten instructions to the Indenture
      Trustee to make such payments, as the same may be calculated, apportioned and charged to each
      of the Trusts by the Administrator based on the expenses of the Subservicers relating to the
      Trust's private student loan portfolio. The payment of the Servicing Fee payable by each Trust
      shall be solely an obligation of such Trust, payable in accordance with the Indentures, and none
      of the parties hereto, including the Back-Up Special Servicer in such capacity or in its capacity
      as successor Special Servicer, or any of the Trusts shall be liable to any Subservicer for ru1y
      amounts owed by FMER pursuant to its arrangements with Subservicers except as provided in
      Sections 5(A) and (B) hereof to the extent funds are reimbursed by the Trusts.

             Section 6.      Term of A&:reement: Resignation ru1d Removal of Special Servicer.

              A.     This Agreement shall continue in force with respect to each Trust until the
      dissolution of such Trust and the payment in full of the Notes under the related Indenture, upon
      which event this Agreement shall automatically terminate with respect to that Trust. The Back-
      Up Special Servicer's duties and obligations hereunder (including in its capacity as successor
      Special Servicer, if applicable) ru1d its right to receive compensation as provided in Section 8(F)
      shall terminate upon the payment in full of the Notes tmder tbe related Indenture.

              B.     Subject to Section 6(E) of this Agreement, the Special Servicer may resign its
      duties hereunder by providing the Trusts, the Administrator, the Back-Up Special Servicer and
      the Indenture Trustee with at least l 0 days' prior written notice.

              C.     [RESERVED]

             D.     Subject to Section 6(E) of this Agreement, the Indenture Trustee shall remove the
      Special Servicer by delivering to the Special Servicer \Vritten notice of termination if any of the
      following events shall occur:

                     (i)     The Special Servicer shall default in the performance of ru1y of its duties
                             under this Agreement and, after written notice of such default, shall not
                             cure such default within forty-five days (or such longer period as shall be
                             reasonably satisfactory to the Indenture Trustee);

                     (ii)    A court having jurisdiction in the premises shall enter a decree or order for
                             relief, and such decree or order shall not have been vacated within 60
                             days, with respect to any involuntary case commenced against the Special
                             Servicer under any applicable bankruptcy, insolvency or other similar law


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                             now or hereafter in effect or shall appoint a receiver. liquidator, assignee,
                             custodian, trustee, sequestrator or similar official for the Special Servicer
                             or any substantial pmt of its property or order the winding-up or
                             liquidation of its affairs;

                     (iii)   The Special Servicer shall commence a voluntary case under any
                             applicable bm1kruptcy, insolvency or other similm law now or hereafter in
                             effect, shall consent to the entry of an order for relief in an involuntary
                             case under any such law, or shall consent to the appointment of a receiver,
                             liquidator, assignee, trustee, custodian, sequestrator or similar official for
                             it or m1y substantial part of its property, shall consent to the taking of
                             possession by any such official of any substantial part of its property, shall
                             make any general assignment for the benefit of its creditors or shall fail
                             generally to pay its debts as they become due; or

                     (iv)    Either: (a) The First Mm·blehead Corporation ("FMC"') no longer has
                             sufficient assets to pay debts as they come due in the ordinmy course of
                             FMC's business or (b) FMC reports in its consolidated financial
                             statements cash, cash equivalents, investments and federal funds sold, in
                             the aggregate, of less than $30 million at the end of any fiscal quarter.

                      The Special Servicer agrees that if any of the events specified in clauses (ii), (iii)
      or (iv) of this Section shall occur, it shall give written notice thereof to the O~ovner Trustee, the
      Back-Up Special Servicer, each of the Rating Agencies md the Indenture Trustee within two
      Business Days after the happening of such event Concurrently with the giving of such notice as
      provided above (m1d in any event no later than five (5) Business Days after receipt of notice of
      termination), the Special Servicer shall (i) notify NCO (or, if applicable, such other Subservicer
      or Subservicers under such agreements with Subservicers as may then he in effect) of its removal
      (m1d provide the Back-Up Special Servicer with a copy of such notice), and (ii) cause the
      Servicers to provide to NCO (or such other Subservicer or Subservicers) such data files,
      information and access to Servicer's systems as may be required by the NCO Agreement (or
      successor agreements) or as may be necessary or desirable for NCO (or such Subservicer or
      Subservicers) to perform under the NCO Agreement (or such other agreements with Subservicers
      as may then be in effect).

              E.      No resignation or removal of the Special Servicer pursuant to this Section shall be
      effective until a successor Special Servicer (which Servicer, if other thm1 the Back-Up Special
      Servicer shall he reasonably acceptable to the Indenture Trustee) shall have agreed in 'hTiting to
      be bound by the terms of this Agreement in the same mmmer as the Special Servicer is bound
      hereunder, subject, with respect to the Back-Up Special Servicer, the terms of this Agreement.
      The appointment of any successor Special Servicer (other than fhe Back-Up Special Servicer)
      shall be effective only after each Rating Agency shall have been given 10 days' prior notice of
      such proposed appointment and each Rating Agency other than Fitch Ratings (Fitch, Inc.) shall
      have declared in writing that such appointment will not result in a reduction or withdrawal of the
      then-current raring of the Notes.




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              Section 7.     Action upon Termination. Resignation or Removal. Promptly upon the
      effective date of termination of this Agreement pursuant to Section 6(A) of this Agreement or the
      resignation or removal of the Special Servicer pursuant to Section 6 of this Agreement, the
      Special Servicer shall be entitled to be paid all fees and reimbursable expenses accruing to it to
      the date of such termination, resignation or removal. The Special Servicer shall forthwith upon
      such termination pursuam to Section 6 of this Agreement deliver to the Trusts as appropriate, all
      property and documents of or relating to the Student Loans then in the custody of the Special
      Scrvicer pursuant to this Agreement. In the event of the resignation or removal of the Special
      Servicer pursuant to Section 6 of this Agreement, the Special Servicer, for a period of not less
      than 120 days following notice of such resignation or removal, shall cooperate with the Trusts
      a11d the Back-Up Special Servicer and tal<e all reasonable steps requested to assist the Trusts and
      Back-Up Special Servicer in making an orderly transfer of the duties of the Special Servicer to
      the Back-Up Special Servicer or other successor Special Servicer, as applicable.

                 Section 8.   Back-Up Special Servicer.

               A.     In the event of the resignation or removal of the Special Servicer pursuant to
      Section 6 of this Agreement, the Back-Up Special Servicer shall become the Special Servicer
      and shall assume the rights, duties and obligations of the Special Servicer to the extent expressly
      required to be assumed and pertormed by the Back-Up Special Servicer under this Agreement;
      provided that the Back-Up Special Servicer shall not under any circumstances be responsible for
      any representations and warranties made by FMER as the Special Servicer, or for any payment
      and indemnity obligations of FMER as the Special Servicer under this Agreement, or for any
      liability incurred by FMER as the Special Scrviccr prior to the date of the assumption by the
      Back-Up Special Servicer of the obligations of the Special Servicer under this Agreement or for
      any obligation to pay the fees and expenses of any Subservicer (except to the extent it receives
      funds from the Tmsts for such purposes). In addition, nothing in this Agreement shall be
      construed to require or permit the Back-Up Special Servicer (in its capacity as Special Servicer
      or otherwise) to undertake direct collection or enforcement activities including, without
      limitation, Early Awareness Services, with respect to consumer borrowers or other consumer
      obligors, Notwithstanding any term hereof or elsewhere to the contrary, the Back-Up Special
      Servicer (in its capacity as Special Servicer or otherwise) shall have no liability hereunder or
      otherwise in the event that it is unable to engage one or more Subservicers, upon reasonahly
      acceptable terms and conditions (including compensation) and in accordance with the applicable
      terms and requirements of this Agreement, to perform Early Awareness Services, enforcement,
      collection and servicing of Delinquent Loans and Defaulted Loans; so long as the Back-Up
       Special Servicer shall have taken commercially reasonable efforts to engage one or more
       Subservicers to perform such Special Services. Notwithstanding the foregoing, the Back-Up
       Special Servicer, if it is unwilling or unable to so act, may designate a successor Special Servicer
       under this Agreement, subject to the satisfaction of the conditions set forth in Sections 6(E)
       hereof.

              B.     In the event that the Special Servicer resigns or is removed as Special Servicer
       and the Back-Up Special Servicer begins performing Special Servicer's duties a> Special
       Servicer under this Agreement, the Back-Up Special Servicer shall be compensated as the
       Special Servicer in accordance with this Agreement. Upon assuming the duties of Special
       Servicer pursuant to this Section 8, except as otherwise provided herein, the Back-Up Special


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       Servicer will be subject to all of the terms and conditions of this Agreement as "'Special
       Servicer" insofar as such terms and conditions apply to the Back-Up Special Servicer's duties as
       set forth above, Without limiting the foregoing, in the perfmmance or non-performance of its
       duties contemplated by this Section 8, the Back-Up Special Servicer (in its capacity as Special
       Servicer or otherwise) shall be subject to the same standard of care as the Special Servicer and
       shall be entitled to the same rights, privileges, protections, immunities and benefits given to the
       Special Servicer hereunder, The Back-Up Special Servicer as successor Special Servicer may
       employ and act through agents, attomeys and independent contractors and shall not be
       responsible or accountable for perfom1a:t1ce of snch agents and independent contractors
       appointed by it with due care. In carrying out the duties or obligations of the Special Servicer
       under this Agreement, the Back-Up Special Servicer may enter into trm1sactions or otherwise deal
       \\i.th any of its Affiliates. In no event will the Back-Up Special Servicer be responsible for the
       obligations of the Special Servicer (or any Servicer or Subservicer) or be responsible for any
       actions, omissions or mal.feasance of the Special Servicer under this Agreement prior to the
       assumption by the Back-Up Special Servicer of the obligations of the Special Serviccr (or any
       Servicer or Subservicer) under this Agreement or any agreement with a Servicer or Subservicer,
       The Back-Up Special Servicer (in such capacity and in its capacity as successor Special Servicer)
       shall not be liable for any elTors contained in any reports, certificate or other data or document
       delivered to the Back-Up Special Servicer (in such capacity and in its capacity as successor
       Special Servicer) hereunder or on which it must rely in order to perfonn its obligations hereunder
       (including in its capacity as Special Service1'). In no event shall the Back-Up Special Servicer
       have any responsibility to monitor, supervise, verify or administer the performance of the Special
        Servicer or any Servicer or Subservicer, prior to the date it assumes the duties of the Special
        Servicer. The Back-Up Special Servicer (including in its capacity as successor Special Servicer,
        if applicable) undertakes to perform only such duties a:tld obligations as are specifically set forth
        in this Agreement, it being expressly understood by all parties hereto that there are no implied
        duties or obligations of the Back-Up Special Servicer hereunder. In no event will the Back-Up
        Special Servicer (including in its capacity as successor Special Servicer) be liable for any
        indirect damages, lost profits, speciaL punitive, or consequential damages which arise out of or
        in cmmection with the services contemplated by this Agreement even if the Back-Up Special
        Servicer has been informed of the possibility of such damages. lf the Back-Up Special Servicer
        (including in its capacity as successor Special Servicer) is prevented from fulfiliing its
        obligations hereunder as a result of government actions, regulations, fires, strikes, accidents
        causing a material disruption in the operations of the Back-Up Special Servicer, acts of god or
        other causes beyond its control, its obligations shall be suspended for a reasonable time during
        which such conditions exist.

                C.     In order to facilitate the performance of the Back-Up Special Servicer's duties
       under this Agreement, for a period of not less tha:t1 120 days following the resignation or removal
       of the Special Servicer pursuant to Section 6 of this Agreement the Special Servicer will provide
       to the Back-Up Special Servicer reasonable access, during normal business hours and upon
       reasonable prior notice, to all files, systems and employees of the Special Servicer then used in
       the provision of the Special Services. Without limiting the generality of the foregoing, the
       Special Servicer agrees to cooperate with the Back-Up Special Servicer (or its designee) to
       facilitate the orderly transfer of its duties under this Agreement, including without limitation,
       notifying the Servicers, Subservicers, the Custodians, their collection agents and other
       appropriate parties of the transfer of the Special Servicer function and providing (or causing the


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      Servicers, Subservicers and/or Custodians, as applicable, to provide) tbe Back-Up Special
      Servicer with all documents and records in electronic or other form reasonably requested by the
      Back-Up Special Servicer to enable the Back-Up Special Servicer or its designee to assume the
      Special Servicer' s functions under this Agreement (including without limitation such information
      relating to Delinquent Loans and Detimlted Loans) and shall transfer (and cause any collection
      agent to transfer) to the Indenture Trustee for deposit into the Collection Account for the benefit
      of each Trust net collections received by it with respect to the Defaulted Loans.

              D.      In the event fhat the Back-Up Special Servicer begins perfonning the Special
      Servicer's duties, it shall be authorized to accept and rely on all of the accounting, records
      (including computer records) and work of the Special Servicer, any Servicer or any Subservicer
      (collectively, the "Predecessor Work Product") without any audit or other examination thereof,
      and it shall have no duty, responsibility, obligation or liability for the acts and omissions of the
      Special Servicer or of a Servicer or Subservicers. If any error, inaccuracy, omission or incorrect
      or non-standard practice or procedme (collectively, "EITors") exist in any Predecessor Work
      Product and such EITors make it materially more difficult to service or should cause or materially
      contribute to the successor Special Servicer making or continuing any En·ors (collectively,
      "Continued EITors"), the Back-Up Special Servicer as successor Special Servicer or otherwise
      shall have no duty, responsibility, obligation or liability for such Continued EITors; provided that
      the Back-Up Special Servicer agrees to use its commercially reasonable efforts to prevent further
      Continued EITors. In the event that the Back-Up Special Servicer upon succeeding to the Special
      Servicer becomes aware of EITors or Continued Errors, it shall use commercially reasonable
      efforts to reconstmct and reconcile such data in order to co!Tect such EITors and Continued
      EITors and to prevent future Continued EITors. In performing the obligations of the Special
      Servicer under this Agreement, the Back-Up Special Servicer in its capacity as successor Special
       Servicer, shall be entitled to rely conclusively on the reports and other information which it may
      receive from a Servicer or Subservicer, including as to the accuracy and completeness thereof,
      and shall not be required to reconcile such information nor shall it be required to otherwise
       supervise or monitor the perfom1m1ce of such Servicers or Subservicers. The Back-Up Special
       Servicer (including in its capacity as Special Servicer) shall have no liability for the acts or
      omissions of any such Servicer or Subservicer in perfom1ing its obligations under the applicable
       Servicing Agreement.

              E.      Subject to the foregoing, the Back-Up Special Serviccr will be required to begin
      performing its duties as successor Special Servicer under this Agreement within 30 days of
      receiving notice of the resignation or removal of FMER as Special Servicer under this
      Agreement (or, if later, the effective dare of the resignation or removal). Administrator shall be
      responsible for m1d hereby covenants to provide such notice promptly upon such resignation or
      removal of FMER as Special Servicer. Out of pocket costs and expenses (including the fees of
      its counsel and agents) incurred by the Back-Up Special Servicer in connection with the
      transition of services hereunder during the 120 day period tollowing notice of the resignation or
      removal of FMER as Special Servicer (including without limitation any costs and expenses
      associated with any Subservieer engagement described in Section 80 below) shall be borne by
      FMER. To the extent that such expenses are not paid by FMER (but without limiting or
      discharging its liability therefor), such expenses shall be paid by FMDS, as Administrator who
      may seek reimbursement from the Trusts (and to the extent not paid by the Administrator, such
      expenses shall be reimbursed to the Back-Up Special Servicer by the Trusts first, as a Servicer


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      expense up to the Monthly Reimbursement Limit, with any remaining an1ounts for a Distribution
      Date payable as indemnities, fees and expenses of the Servicer after the payment on such date of
      the principal and interest due on the Notes on such Distribution Date), such reimbursement by
      the Trusts to be apportioned in accordance with the respective Pool Balance of Student Loans
      owned by each Trust as of the resignation or removal of FJYIER.

              F.     As compensation for the performance of the Back-Up Special Servicer's
      obligations under this Agreement, the Back-Up Special Servicer shall he entitled to a monthly
      fee of $1,000 per Trust payable by the Trusts on each Distribution Date as a Servicing Fee
      pursuant to the terms of each Indenture, until such time as the Back-Up Special Servicer either
      begins performing the duties of the Special Servicer under this Agreement or otherwise ceases to
      he the Back-Up Special Servicer.

              G.      The initial Special Serviccr hereby represents and warrants that the Default
      Prevention and Collection Services Agreement, dated as of March 1, 2009 (the "NCO
      Agreement"), between the Special Servicer and NCO Financial Systems, Inc. ("NCO") (attached
      hereto as Exhibit II) is in full force and effect; and the initial Special Servicer hereby covenants
      and agrees with the Back-Up Special Servicer that the initial Special Servicer shall at all times
      maintain in full force (i) the NCO Agreement, and the engagement of NCO thereunder as
      Subservicer, or (ii) one or more other agreements upon terms reasonably acceptable to the Back-
      Up Special Servicer, with a Subservicer or Subservicers reasonably acceptable to the Back-Up
      Special Servicer and capable of performing the obligations of a Subservicer as contemplated by
      this Agreement. Without limiting or discharging any other liability or obligation the Special
      Servicer may have hereunder or otherwise in respect thereof~ the initial Special Servicer hereby
      expressly agrees to indemnify and hold harmless th.e Back-Up Special Servicer f()r and from any
      and all losses, liabilities, damages, costs and expenses (including reasonable attorney's fees) that
      may he suffered, incmred or paid by the Back-Up Special Servicer as a result of, or arising from,
      any breach on the part of the Special Servicer of the representations, warranties, covenants or
      agreements set forth in the preceding sentence, including without limitation any cost associated
      with the engagement by the Back-Up Special Servicer of one or more acceptable Subservicers
      necessitated thereby. FMER shall give 10 days' prior notice to the Back-Up Special Servicer of
      any an1.endment. modification or waiver relating to the NCO Agreement (or such other
       agreement or agreements contemplated in subclause (ii) above), which notice shall be
       accompanied by the fonn of the proposed amendment, modification, waiver or a6'feement or
       agreements, as applicable.

              Section 9.     Representations and Wananties.

              A.      The Special Servicer hereby makes the following representations and warranties
      to each of the Trusts and to the Back-Up Special Servicer:

                      (i)    Organization and Good Standing. The Special Scrvicer is an entity duly
                             organized, validly existing, and in good standing under the laws of its state
                             of incorporation or formation or the laws of the United States, and is in
                             compliance with the laws of each state in which any property is located to
                             the extent necessary to perform its obligations hereunder.




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                       (ii)    No Violation. Neither the execution and delivery by the Special Servicer
                               of this Agreement, nor the consummation by it of the transactions
                               contemplated hereby, nor the perfonnance of and compliance by the
                               Special Servicer with the provisions hereo±; will conflict vvith or result in a
                               breach or violation of, or constitute a default (or an event which, with
                               notice or the lapse of time, or both, would constitute a default) under, the
                               organizational documents (its articles of incorporation or charter or by-
                               laws) of the Special Servicer, any of the provisions of any judgment,
                               decree, demand, or order of any federal, state, or local comi binding on the
                               Special Servicer, or any of the provisions of any indenture, mortgage,
                               contract, instrument, or other document to which the Special Servicer is a
                               party or by which it is bound, or result in the creation or imposition of any
                               lien, charge, or encumbrance upon any of its properties pursuant to the
                               terms of any indenture, mortgage, contract, instrument, or other docmnent.
                               Neither the execution and delivery by the Special Servicer of this
                               Agreement, nor the consummation by it of the transactions contemplated
                               hereby, nor the pcrfomumce of and compliance by the Special Servicer
                               with the provisions hereof will, to its knowledge, result in a breach of any
                               law, rule or regulation of any federal, state or local govemmental or
                               regulatory authority binding on the Special Servicer. The Special Servicer
                               is not othe1wise in violation of any law. rule, regulation, judgment, decree,
                               demand, or order (of any federal, state or local governmental or regulatory
                               authority or comt), which violation, in the Special Servicer's good faith
                               and reasonable judgment, is likely to affect materially and adversely either
                               its ability to perfonn its obligations hereunder, or the financial condition
                               of the Special Servicer.

                       (iii)   Authorization and Enforceabilitv. The execution and delivery by the
                               Special Servicer of this Agreement, the consummation of the transactions
                               contemplated hereby, and the performance and compliance by the Special
                               Servicer with the terms hereof are within the powers of the Special
                               Servicer. and have been duly authorized by all necessary action on the part
                               of the Special Servicer. All organizational resolutions and consents
                               necessary for the Special Servicer to enter into and consummate all
                               transactions contemplated hereby have been obtained. This Agreement has
                               been duly executed and delivered by the Special Servicer and constitutes
                               the legal, valid and binding obligation of the Special Servicer. enforceable
                               against it in accordance with its terms, subject to applicable bankruptcy,
                               insolvency, reorganization, moratorimn, and other similar laws atTecting
                               creditors' rights generally, and to general principles of equity, regardless
                               of whether such enti.1rcement is considered in a proceeding in equity or at
                               law. The Special Servicer has not failed to obtain any consent, approval,
                               authorization, or order of, or failed to cause any registration or
                               qualification with, any court or regulatory authority or other governmental
                               body having jurisdiction over the Special Servicer, which consent,
                               approval, authorization, order, registration, or qualification is required for,
                               and the absence of which would materially adversely affect, the legal and


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                               valid execution, delivery, and perfonnance of this Agreement by the
                               Special Serviccr.

                        (iv)   Approvals and Permits. The Special Servicer possesses such certificates,
                               authorizations, licenses, and permits issued by the appropriate state,
                               federal, and foreign regulatory agencies or bodies necessary to conduct the
                               business now operated by it, and it has not received any notice of
                               proceedings relating to the revocation or modification of any such
                               certificate, authorization, or permit which, singly or in the aggregate, if the
                               subject of an unfavorable decision, ruling, or finding, would materially
                               and adversely affect the ability of the Special Servicer to perform its
                               obligations hereunder.

                        (v)    No Litigation. No litigation is pending or, to the best of the Special
                               Servicer's knowledge, threatened against it, which, if determined
                               adversely to the Special Servicer would prohibit the Special Servicer fi·om
                               entering into this Agreement or, in the good faith and reasonable judgment
                               of the Special Servicer, is likely to materially and adversely affect either
                               its ability to perform its obligations hereunder or the financial condition of
                               the Special Servicer.

             B.      The Back-Up Special Servicer hereby makes the following representations and
      waJTanties to each of the Trusts and to the Special Setvicer:

                        (i)    0r£m1ization and Good Standing. The Back-Up Special Servicer is an
                               entity duly organized, validly existing, and in good standing under the
                               laws of its state of incorporation or formation or the laws of the United
                               States, and is in compliance with the laws of each state in which any
                               property is located to the extent necessary to perfom1 its obligations
                               hereunder.

                        (ii)   No Violation. Neither the execution and delivery by the Back-Up Special
                               Servicer of this Agreement, nor the consummation by it of the transactions
                               contemplated hereby, nor the performance of and compliance by the Back-
                               Up Special Servicer with the provisions hereof, will conflict with or result
                               in a breach or violation of, or constitute a default (or an event which, with
                               notice or the lapse of time, or both, would constitute a default) under, the
                               organizational docun1ents (its articles of incorporation or charter or by-
                               laws) of the Back-Up Special Servicer, any of the provisions of any
                               jndgmenL decree, demand, or order of any federal, state, or local court
                               binding on the Back-l'p Special Servicer, or any of the provisions of any
                               indenture, mortgage, contract, instrument. or other document to which the
                               Back-Up Special Servicer is a party or by which it is bound, or result in
                               the creation or imposition of any lien, charge, or encumbrance upon any of
                               its properties pursuant to the terms of any indenture, mortgage, contract,
                               instrument, or other document. Neither the execution and delivery by the
                               Back-Up Special Servicer of this Agreement, nor the consummation hy it



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                                      of the transactions contemplated hereby, nor the perfonnance of and
                                      compliance by the Back-Up Special Servicer with the provisions hereof,
                                      will, to its knowledge, result in a breach of any law, rule or regulation of
                                      any federal, state or local governmental or regulatory authority binding on
                                      the Back-Up Special Servicer. The Back-Up Special Servicer is not
                                      otherwise in violation of any law, rule, regulation, judgment decree,
                                      demand, or order (of any federal, state or local govemmental or regulatory
                                      authority or court), which violation, in the Back-Up Special Servicer's
                                      good faith and reasonable judgment, is likely to affect materially and
                                      adversely either its ability to perform its obligations hereunder, or the
                                      financial condition of the Back-Up Special Servicer.

                              (iii)   Authorization and Enforceability. The execntion and delivery by the
                                      Back-Up Special Servicer of this Agreement, the consummation of the
                                      transactions contemplated hereby, and the performance and compliance by
                                      the Back-Up Special Servicer with the terms hereof are within the powers
                                      of the Back-Up Special Servicer, and have been duly authorized by all
                                      necessary action on the part of the Back-Up Special Servicer. All
                                      organizational resolutions and consents necessary for the Back-Up Special
                                      Servicer to enter into and consummate all transactions contemplated
                                      hereby have been obtained, This Agreement has been duly executed and
                                      delivered by the Back-Up Special Servicer and constitutes the legal, valid
                                      and binding obligation of the Back-Up Special Servicer, enforceable
                                      against it in accordance with its terms, subject to applicable bankruptcy,
                                      insolvency, reorganization, moratorium, and other similar laws affecting
                                      creditors' rights generally, and to general principles of equity, regardless
                                      of whether such enforcement is considered in a proceeding in equity or at
                                       law. The Back-Up Special Servicer has not failed to obtain any consent,
                                       approval, authorization, or order of, or failed to cause <my registration or
                                       qualification with, any court or regulatory authority or other govemmental
                                       body having jurisdiction over the Back-Up Special Servicer, which
                                       consent, approval, authorization, order, registration, or qualification is
                                       required ±or, and the absence of which wonld materially adversely affect,
                                       the legal and valid execution, delivery, and perfonnance of this Agreement
                                       by the Back-l!p Special Servicer.

                              (iv)    Approvals and Permits. The Back-Up Special Servicer possesses such
                                      certificates, authorizations, licenses, and permits issued by the appropriate
                                      state, federal, and foreign regulatory agencies or bodies necessary to
                                      conduct the business now operated by it.. and it has not received any notice
                                      of proceedings relating to the revocation or modification of any such
                                      certif1cate, authorization, or pem1it which, singly or in the aggregate, if the
                                      subject of an unfavorable decision, ruling, or finding, would materially
                                      and adversely affect the ability of the Back-Up Special Servicer to
                                      perform its obligations hereunder.




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                    (v)    No Litigation. No litigation is pending or, to the best of the Back-Up
                           Special Servicer' s knowledge, threatened against it, which, if determined
                           adversely to the Back-Up Special Servicer would prohibit the Back-Up
                           Special Servicer from entering into this Agreement or, in the good faith
                           and reasonable judgment of the Back-Up Special Servicer, is likely to
                           materially and adversely affect either its ability to perform its obligations
                           hereunder or the financial condition of the Back-Up Special Servicer.

             Section I 0.   Indemnification. The Special Servicer will indemnify each of the Trusts,
     the Owner Trustee, the Back-Up Special Servicer (including in its capacity as Special Servicer)
     and the Indenture Trustee and their officers, directors, employees and agents for, and hold them
     harmless against, any losses, liability or expense, including reasonable attorneys' fees and
     expenses, incurred in the absence of willful misconduct, negligence or bad faith on the part of the
     Trusts, the Owner Trustee, the Back-Up Special Servicer or the Indenture Trustee (as applicable)
     and their agents, arising out of the willful misconduct, negligence or bad faith of the Special
     Servicer (or its agents) in the performance of the Special Servicer's duties contemplated by this
     Agreement; provided that neither the Special Servicer nor any of its directors, oftlcers,
     employees or agents shall be liable for any action taken or for refraining from the taking of any
     action pmsuant to instructions or directions from the Administrator or the Indentme Trustee or in
     accordance with this Agreement and provided further however that the Back-Up Special Servicer
     (in its capacity as successor Special Servicer) shall only be responsible for any such loss or
     expense to the extent such are determined to be proximately caused by its own gross negligence
     or willful misconduct. To the extent any indemnification amounts are not paid by the Special
     Servicer, such amounts shall be paid by each Trnst (to the extent permitted under the applicable
     Indenture as indemnities, fees and expenses of the Servicer paid after the payment of principal
     and interest) in accordance with the respective Pool Balance of Stndent Loans then owned by
     each Trust.

             Section II.    Records: Inspection. The Special Servicer shall maintain appropriate
     books of acconnt and records relating to services performed hereunder, which books of account
     and records shall be accessible for inspection by the Indenture Trustee at any time during normal
     business hours. The Special Servicer hereby grants the Back-Up Special Servicer and the
     Indentnre Trnstee the right for so long as any of the Notes remain outstanding, to perform
     ongoing due diligence review of the Special Servicer' s activities hereunder; provided that, such
     due diligence be conducted in a reasonable manner, convenient to the Special Servicer and the
     Indentnre Trustee. All expenses associated with the perfmmance of the due diligence review
     shall be paid by the Trusts and shall be subject to the Monthly Reimbursement Limit described in
     Section 5(B).

            Section 12.     Reporting; Additional Information to be Furnished. On the tenth Business
     Day after the end of each calendar month, the Special Servicer shall furnish the Back-Up Special
     Serviccr and the Administrator on behalf of the Trusts, an electronically transfened data file
     containing a monthly collection report regarding the Delinquent Loans or Defaulted Loans in a
     form satisfactory to the Administrator. On the tenth Business Day after the end of each calendar
     month, the Special Servicer shall furnish the Administrator on behalf of the Trusts and the Back-
     Up Special Servicer an electronically transferred data tile containing recovery data for Defaulted
     Loan owned by each respective Trust and other information as required by Regulation AB, each



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     for investor reporting purposes. The Special Servicer shall furnish to the Administrator on
     behalf of the Trusts and the Back-Up Special Servicer fi·om time to time such additional
     information regarding the Student Loans, including Delinquent Loans or Defaulted Loans, as the
     Administrator on behalf of the Trusts or the Back-Up Special Servicer shall reasonably request.

              Section 13.    Subservicing Agr_eementf.     The Special Servicer will catLse each
      subservicing agreement with a Subservicer to contain provisions consistent with this Agreement,
      including provisions requiring the applicable Subservicer to maintain adequate records and
      procedures with respect to a Student Loan and its performance. Each subservicing agreement
      shall be terminable by the Special Servicer (including for the avoidance of doubt, the Back-Up
      Special Servicer acting as successor Special Servicer) upon thirty days written notice . and shall
      provide that any successor to the Special Servicer shall succeed to the Special Servicer
      thereunder. The Special Servicer shall promptly provide the Back-Up Special Servicer copies of
      all existing subservicing agreements with a Subservicer, including the NCO Agreement, and any
      additional subservicing agreements between the Special Servicer and Subservicers or any
      amendments to existing subservicing agreements with a Subservicer entered into after the date of
      this Agreement.

              Section 14.   Regulation AB. On or before September 15 of each calendar year
      beginning in 2009, the Special Serviccr shall deliver to the Administrator any reports, servicer
      compliance statements and attestations as may be required pursuant to the ten11S of any
      Indenture. In the event the Special Servicer or the Back-Up Special Servicer is required to
      deliver to the Administrator the documents described in this Section J 4, the costs associated with
      delivering such reports, including the fees and expenses of a registered public accounting finn,
      shall be bome by the Administrator and reimbursed by the Trusts as a Servicer expense;
      provided however that the obligation of the Special Servicer or of the Back-Up Special Servicer
      as successor Special Servicer to deliver any such reports shall terminate if such reports are no
      longer required by Regulation AB.

              Section 15.    Security lntq_est. Each of the Trusts hereby Grants to the Indenture
      Tmstee as of the date hereof, all of the Trust's right, title and interest in and to this Agreement
      and all present and futme claims, demands, causes and chooses in action in respect of this
      Agreement and all payments on or under and all proceeds of every kind and nature whatsoever in
      respect of this Agreement. The foregoing Grant is made in tmst to secure the payment of
      principal of and/or interest on, as applicable, and any other amounts owing in respect ot: the
      "Jotes, all as provided in the Indentures. The Indenture Trustee, as Indenture Trustee on behalf
      of the holders of the Notes, acknowledges such Gran\, and accepts the Grant in accordance with
      the provisions of the Indentures.

              Section 16.    Amendments. This Agreement may be amended from time to time by the
      parties hereto, including amendment of Schedule A and .S,chec!.ule B, attached hereto, to add
      additional trusts, provided that any amendment must be accompanied by the vvTitten consent of
      the Administrator and upon satisfying the Rating Agency Condition.

             Section 17.     Independence of the Special Servicer. For all purposes of this Agreement,
      the Special Servicer shall be an independent contractor and shall not be subject to the supervision
      of the Trusts with respect to the mam1er in which it accomplishes the performance of its


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     obligations hereunder. Unless expressly auth01ized by the Trusts, the Special Servicer shall have
     no authority to act for or represent the Trusts, respectively, in any way other than as specified
     hereunder and shall not otherwise be deemed an agent of the Trusts.

             Section 18.     No Joint Venture. Nothing contained in this Agreement (i) shall constitute
     the Special Servicer or Back-Up Special Servicer and any of the Trusts as members of any
     partnership, joint venture, association, syndicate, unincorporated business or other separate
     entity, (ii) shall be construed to impose any liability as such on any of them, or (iii) shall be
     deemed to confer on any of them any express, implied or apparent authority to mcur any
     obligation or liability on behalf of the others.

              Section 19.     Other Activities of the Special Servicer. Nothing herein shall prevent the
      Special Servicer or Back-Up Special Servicer or their Affiliates from engaging in other
      businesses or, in its or their sole discretion, !rom acting in a similar capacity as servicer for any
      other person or entity even though such person or entity may engage in business activities similar
      to those of the Trusts.

             Section 20.    Notices. Any notice, report or other communication given hereunder shall
      be in writing and addressed as follows:

                If to the Special Servicer. to:

                                The First Marblehead Corporation
                                Tbe Prudential Tower
                                800 Boylston Street- 34'11 Floor
                                Boston, MA 02199-8157
                                Attention: Corporate Law Department

                 If to the Back-Up Special Servicer, to:

                                U.S. Bank National Association
                                Corporate Trust- Structured Finance
                                One Federal Street, Third Floor
                                Boston, Massachusetts 0211 0
                                Attention: David Duclos
                                Phone: 617-603-6409
                                Fax: 617-603-6638

                                U.S. Bank National Association
                                c/o U.S. Bank Portfolio Services
                                1310 Madrid, Suite 103
                                Marshall, Mim1esota 56258
                                Attention: Joe Andries
                                Phone: 507-532-7129
                                Fax:    866-806-0755




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                  If to the Tmsts or the Indenture Trustee, to:

                                 The address set forth in the applicable Indenture

                                  With a copy to:

                                 First Marblehead Data Services, Inc.
                                 The Prudential Tower
                                 800 Boylston Street- 34th Floor
                                 Boston, MA 02199-8157
                                 Attention: Ms. Rosalyn Bonaventure

      Or to such other address as any party shall have provided to the other pmties in writing. Any
      notice required to be in writing hereunder shall be deemed given if such notice is mailed by
      certified mail, postage prepaid, sent by overnight courier for next-day delivery or hand-delivered
      to the address of such pm·ty as provided above.

              Section 21.    Notice to Notebolders. Promptly upon execution of this Agreement, but in
      any event no later than 30 days following execution hereof, the Special Servicer shall deliver to
      the Indenture Trustee of each of the Trusts an executed copy of this Agreement along with a
      form of notice to each Noteholder to he distributed to each Noteholder by the Indenture Trustee
      in accordance with Article Xl of each Indenture to the ciTect that the respective Trust bas entered
      into this Agreement and has appointed FMER as Special Servicer and each Noteholdcr can
      request a copy of the Agreement by contacting the Indenture Trustee.

                   Section 22.    Miscellaneous.

              A        Successors and Assigns. This Agreement may not be assigned by the Special
      Servicer unless such assignment is previously consented to in writing by the Indenture Tmstee,
      and the Back-Up Special Servicer and unless each Rating Agency, after having been given 10
      days' prior notice of such assignment, shall have declared in writing that such assignment will
      not result in a reduction or withdrawal of the then-culTent rating of the Notes or Certificates. An
      assignment with such consent and satisfaction, if accepted by the assignee, shall bind the
      assignee hereunder in the same mmmer a~ the Special Servicer is bound hereunder.
      Notwithstanding the foregoing, this Agreement may be assigned by the Special Servicer, without
      the consent of the Indenture Trustee or th.e Back-Up Special Servicer either (i) to a corporation or
      other organization that is a successor (by merger, consolidation or purchase of assets) to the
      Special Servicer or (ii) to Union Federal Savings Bank or any of its subsidiaries; provided that
      such successor orgm1ization executes and delivers to the Indenture Trustee and the other parties
      hereto an agreement in which such corporation or other organization agrees to be bound
      hereunder in the smne manner as the Special Servicer is bound hereunder. Subject to the
      foregoing, this Agreement shall bind any such permitted successors or assigns of the pmiies
      hereto.

             B.      Govcming Law. This Agreement shall be governed by, and construed in
      accordance with, the laws of the State of New York, without giving effect to conflicts of laws
      provisions thereof (other than Section 5-140 l of the New York General Obligations Law).



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              C.    Headings. The section headings hereof have been inserted for convenience of
      reference only and shall not be construed to atfect the meaning, construction or etlect of this
      Agreement.

            D.      Counteroatts. This Agreement may be executed in counterparts, each of which
      when so executed shall together constitute but one and the same agreement.

             E.       Severabilitv. Any provision of this A!,;:reement that is prohibited or unenforceable
      in any jurisdiction shall be ineffective to the extent of such prohibition or unenforceability
      withont invalidating the remaining provisions hereof and any such prohibition or
      tmenforceability in any jurisdiction shall not invalidate or render unenforceable such provision in
      any other jurisdiction.

              F.      Limitation of Liabilitv of Owner Trustee. Notwithstanding anything contained
      herein to the contrary, this instrument has been executed by Wilmington Trust Company, not in
      its individual capacity but solely in its capacity as Ovmer Trustee of each of the Trusts, and in no
      event shall Wilmington Trust Company in it~ individual capacity or any beneficial owner of the
      Trusts have any liability for the representations, warranties, covenants, agreements or other
      obligations of the Trusts hereunder, as to all of which recourse shall be had solely to the assets of
      the Trusts. For all purposes of this Agreement, in the perfonnance of any duties or obligations of
      the Trusts hcrctmder, the Owner Trustee shall be subject to, at1d entitled to the benefits of, the
      terms and provisions of Articles VIII, IX and X of the each Trust Agreement of the Trusts.

              G.      Third Pmiv Beneficiarv. The parties hereto acknowledge that the Noteholders,
      Certificateholders and the Indenture Trustee are express third party beneficiaries hereof and are
      entitled to enforce their respective rights hereunder as if actually parties hereto.

             H.     No Petition. The parties hereto will not at any time institute against the Trusts
      any bankruptcy proceeding under any United States federal or state bankruptcy or similar law in
      connection with any obligations of the Trusts under any Transaction Document as defined in the
      Indenture.

              !.      Grant. Each Trust hereby acknowledges that the Servicing Agreement is a
      "Servicing Agreement" for all purposes of its applicable Indenture. Each Tmst hereby Grat1ts to
      the Indenture Trustee, as trustee under each Indenture for the benefit of the Holders of Notes and
      other secured parties as applicable under the applicable Indenture, all of its right, title and
      interest in and to (i) the Agreement; and (ii) all present and future claims, demands, causes and
      chases in action in respect of any or all of the foregoing and all payments on or under and all
      proceeds of every kind and natme whatsoever in respect of any or all of the foregoing, including
      all proceeds of the conversion, voluntary or involuntary, into cash or other liquid property, all
      cash proceeds, accounts, accounts receivable, notes, drafts, acceptances, chattel paper. checks,
      deposit accounts, insurance proceeds, condemnation awards. rights to payment of any and every
      kind and other forms of obligations and receivables, instruments and other prope11y which at any
      time constitute all or part of or are included in the proceeds of the foregoing. The Administrator
      on behalf of each Trust shall tal(e all steps necessary to ensure the perfection and priority of the
      Indenture Tmstee's security interest in the foregoing collateraL By its signature below, the




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      Indenture Trustee on behalf of the holders of Notes and other secured parties as applicable,
      acknowledges such Grant.

                                   [SIGNATURE PAGE FOLLOWS]




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              IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
       executed by their respective officers hereunto duly authorized, as of the day and year first above
       writt<-'Tl.

                                                    First Marblehead Education Resources, Inc., as the
                                                    Special Servicer


                                                    By:   _t~ $:·.-··
                                                          Name:
                                                          Title:


                                                    U.S. Bank National Association, as the Back-Up
                                                    Special Servicer


                                                    By: ------------------------------
                                                        Name:
                                                        Title:


                                                    Each of the Trusts listed on Schedule A, attached
                                                        hereto

                                                    By: Wilmington Trust Company, not in its
                                                        individual capacity but solely as Owner
                                                        Trustee


                                                    By. -----------------------------
                                                          Name:
                                                          Title:


                                                    ACKNOWLEDGED AND COl'\TflRMED:


                                                    First Marblehead Data Services, Inc., as
                                                    Administrator




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               IN \VITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
       executed by their respective officers hereunto duly authorized, as of the day and year first above
       written.

                                                    First Marblehead Education Resources, Inc., as the
                                                    Special Servicer



                                                    By:   ~-------------------------
                                                          Name:
                                                          Title:


                                                    U.S. Bank National Association, as the Back-Up
                                                    Special Servicer     /)


                                                    By:c:ELJ.L_
                                                          Mfune:
                                                           .          J oseoh And nes
                                                                                   ·
                                                          Tttle:   Senior Vice President

                                                    Each of the Trusts listed on Schedule A, attached
                                                        hereto

                                                    By: Wilmington Trust Company, not in its
                                                        individual capacity but sol. ely as Owner
                                                        Trustee


                                                    By:~--------------------­
                                                          Name:
                                                          Title:


                                                    ACKNOWLEDGED AND CONFIRMED:


                                                    First Marblehead Data Services, Inc., as
                                                    Ad111inistrator


                                                    By: ____________________________
                                                          Name:
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                   IN WITNESS \VHEREOF, the parties hereto have caused this Agreement to be duly
          executed by their respective officers hereunto duly authorized, as of the day and year i1rst above
          written.

                                                       First Marblehead Education Resources, Inc., as the
                                                       Special Servicer




                                                       U.S. Bm1k National Association, as the Back-Up
                                                       Special Servicer


                                                       By: - - - - - - - - - - - - - - -
                                                           Name:
                                                           Title:


                                                       Each of the Trusts listed on Schedule A, attached
                                                           hereto

                                                       By: Wilmington Trust Company. not in its
                                                           individual capacity but solely as Owner
                                                           Trustee


                                                       By~) a~
                                                            Name:        Dorri Costello
                                                            Title: Financial Servtces Officer


                                                       ACKJWWLEDGED AND CONFIRMED:


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                                          ACKNOWLEDGED:

                                         U. S. Bank National Association, as Indenture
                                         Trustee for each of the Indentures listed on
                                         Schedule A attached hereto

                                                      n:A.~•
                                          By:~--~~L------------------­
                                             Name:
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                                                              David Dudes
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                                                 SCHEDULE A

       Trusts:

          •    The National    Collegiate Studem Loan Trust 2003-1;
          •    The National    Collegiate Student Loan Trust 2004-1;
          •    The National    Collegiate Student Loan Trust 2004-2;
          •    The National    Collegiate Student Loan Trust 2005-1;
          •    The National    Collegiate Student Loan Trust 2005-2;
          •    The National    Collegiate Student Loan Trust 2005-3;
          •    The National    Collegiate Student Loan Trust 2006-1;
          •    'Dte National   Collegiate Student Loan Trust 2006-2;
          •    The National    Collegiate Student Loan Trust 2006-3;
          •    The National    Collegiate Student Loan Trust 2006-4;
          •    The National    Collegiate Student Loan Trust 2007-1; and
          •    The National    Collegiate Student Loan Trust 2007-2,

       Indentures:

       Each of the following Indentures, as amended or supplemented, entered into by and between
       U,S, Bank National Association, as Indenture Trustee and:

          •    The National Collegiate Student Loan Trust 2003-1, dated as of December 1, 2003;
          •    The National Collegiate Student Loan Trust 2004-1, dated as of June 1, 2004;
          •    The National Collegiate Student Loan Trust 2004-2, dated as of October I, 2004:
          e    The National Collegiate Student Loan Trust 2005-1, dated as ofFebmary 1, 2005;
          •    The National Collegiate Student Loan Trust 2005-2, dated as of June 1, 2005;
          •    The National Collegiate Student Loan Trust 2005-3, dated as of October 1, 2005;
          "    The National Collegiate Student Loan Trust 2006-1, dated as of March 1, 2006;
          •    The National Collegiate Student Loan Trust 2006-2, dated as of June 1, 2006;
          •    The National Collegiate Student Loan Trust 2006-3, dated as of September 1, 2006;
          •    The National Collegiate Student Loan Trust 2006-4, dated as of December 1, 2006;
          "'   The National Collegiate Student Loan Trust 2007-1, dated as of March 1, 2007; and
          •    The National Collegiate Student Loan Trust 2007-2, dated as of June 1, 2007,




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                                         SCHEDULEB

                  [Schedule of Reimbursement Limits per Trust by Calendar Month]




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                                                                                 Schedule B
Monthly Reimbursement Limit for payments relating to Delinquent Loans

 Date         2003-1        2Q0+1         2004-2      2005--1       2005-2         2005-3       2006-1       ~           gQQ6-3      2006:.4     gQQ_Z::1    2007-2
              36,000.00     41,000.00     57,000.00   46,000-00     36,000.00      82,000.00    57,000.00    41,000.00   88,000.00   57,000.00   62,000.00   62,000.00
02/2009
              36,000.00     41,000.00     57,000.00   46,000.00     36,000.00      82,000.00    57,000.00    41,000.00   88,000.00   57,000.00   62,000.00   62,000.00
03/2009
04/2009       21,000.00     26,000.00     52,000.00   4'1 ,000.00   31,000.00      77,000.00    52,000.00    41,000.00   88.000.00   57,000.00   62,000.00   67,000.00
05/2009       21,000.00     26,000.00     52,000.00   41,000.00     31,000.00      77,000.00    52,000.00    41,000.00   88,000.00   57,000.00   62,00G.OO   67,000.00
06!2009       21,000_00     26.000.00     52,000.00   41,000.00     31,000.00      77,000.00    52,000.00    41,000.00   88,000.00   57,000.00   62,000.00   67,000.00
07/2009       16.000.00     16.000.00     42.000.00   32,000_00     27,000.00      64,000.00    42,000.00    31,000.00   80,000.00   48,000.00   53,000.00   58,000.00
0812009       16,000.00     16,000.00     42,000.00   32,000.00     27,000.00      64,000.00    42,000.00    37,000.00   80,000.00   48,000.00   53,000.00   58,000.00
              16,000.00     16,000.00     42,000.00   32,000.00     27,000.00      64,000,00    42,000.00    37,000.00   80,000.00   48,000.00   53,000.00   58,000.00
09!2009
1012009       16,000.00     16,000.00     37,000.00   27,000_00     21,000.00      53,000.00    37,000.00    27,000.00   64,000.00   37,000.00   42,000.00   48,000.00
              16,000.00     16,000.00     37,000.00   27,000.00     21,000.00      53,000.00    37,000.00    27,000.00   64.000.00   37,000.00   42,000.00   48,000.00
11/2009
              16,000.00     16,000.00     37,000.00   27,000_00     21,000.00      53,000.00    37,000-00    21,000.00   64,000.00   37,000.00   42,000.00   48.000.00
12/2009
              11,000.00     11,000.00     37,000.00   27,000.00     21,000.00      53,000.00    37,000.00    27,000.00   64.000.00   42,000.00   42,000.00   48,000.00
01/2010
0212010       11,000.00     11,000.00     37,000.00   27,000.00     2i,OOO.OO      53,000.00    37,000.00    27,000.00   64,000.00   42,000.00   42,000.00   48,000.00
              11,000.00     11 ,ooo_oo    37,000.00   27,000.00     21,000.00      53,000.00    37,000.00    27,000.00   64,000.00   42,000-00   42,00000    48,000.00
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              11,000.00     11,000.00     37,000.00   27,000_00     21,000.00      53,000.00    37,000.00    27,000.00   64,000.00   42,000.00   48,000.00   48,000.00
04/2010
              11,000.00     i 1,000.00    37,000.00    27,000.00    21,000.00      53,000.00    37,000.00    27,000.00   64,000.00   42,000.00   48,000.00   48,000.00
05/2010
06/2010       11,000_00     11,000.00     37,000.00   27,000.00     2LOOO.OO       53,000_00    3/,ooo_-oo   27,000.00   64,000.00   42,000.00   48,000.00   48,000.00
              11,000.00     11,000.00     38,000.00   27,000.00     16,000.00      49,000.00    33,000.00    27,000.00   60,000.00   38,000.00   44,000.00   49,000.00
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              11,000.00     1 '1,000.00   38,000.00   27,000.00     16,000.00      49,000.00    33,000.00    27,000.00   60,000.00   38,000.00   44,000.00   49,000.00
08/2010
              11,000.00     11,0QO_OO     38,000_00   27,000.00     16,000.00      49,000.00    33,000.00    27,000.00   60,000.00   38,000.00   44,000.00   49,000.00
09/2010
                            11,000.00     33,000.00   27,000.00     16,000.00      44,000.00    33,000.00    22,000.00   55,000.00   33,000.00   38,000.00   44,000.00
10/2010       11,000.00
11/2010       11,000.00     11,000.00     33,000.00   27,000,00     16,000.00      44,000.00    33.000.00    22,000.00   55,000.00   33,000.00   38,000.00   44,000.00
              11,000.00     11,000_00     33,000_00   27,000.00     16,000.00      44,000.00    33,000_00    22,000.00   55,000.00   33,000.00   38,000.00   44,000.00
12/2010
                            11,000.00     27,000.00   22,000.00     16,000.00      49,000.00    33,000.00    22,000.00   60,000.00   33,000.00   38,000.00   44,000.00
01/2011       11.000.00
                            11,000.00     27,000.00   22,000_00     16,000.00      49,000.00    33,000.00    22,000.00   60.000.00   33,000.00   38,000.00   44,000.00
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0312011       11,000.00
                            11,000.00     22,000.00   22,000.00     16,000.00      49,000.00    33,000.00    22,000.00   60,000.00   38,000.00   38,000.00   44-,000,00
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              11 ,000.00    11,000_00     22,000.00   22,000.00     16,000.00      49,000.00    33,000.00    22,000.00   60,000.00   38,000.00   38,000.00   44,000.00
0512011
                            11,000.00     22,000.00   22,000.00     16,000.00      49,000.00    33,000.00    22,000.00   60,000.00   38,000.00   38,000.00   44,000.00
06/20'11      11,000.00
               6,000.00     11,000.00     23,000.00   17,000.00     17,000.00      51,000.00    28,000.00    23,000.00   56,000.00   34,000.00   39.000.00   39,000.00
07/2011
                            11,000.00     23,000.00   17,000.00     17,000.00      51,000.00    28,000.00    23,000.00   56,000.00   34,000.00   39,000.00   39,000.00
08/2011        6,000.00
09/2011        6,000.00     i 1,000.00    23,000.00   17,000_00     17,000.00      51,000.00    28,000.00    23,000.00   56,00000    34,000 00   39.000.00   39,000.00
                              6,000.00    23,000.00   17,000.00     11.000.00      45,000.00    28,000,00    23,000.00   51,000,00   28,000,00   34,000.00   34,000.00
10/201 i       6,000.00
1 i/2011       6,000.00       6,000.00    23,000.00   17,000.00     11,000.00      45,000.00    28,000.00    23,000.00   51,000.00   28,000.00   34,000.00   34,000.00
12/2011        6,000.00       6,000.00    23,000.00   17,000.00     11.000.00      45,000_00    28,000.00    23,000.00   51,000.00   28,000.00   34,000.00   34,000.00
               6,000.00      6,000.00     17,000.00   11,000.00     i 1,000.00     34,000.00    28,000.00    23,000.00   56,000.00   34,000_00   34,000.00   39,000.00
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               6,000.00      6,000.00     17,000.00   17,000.00     11,000.00      34,000.00    28,000.00    23.000.00   56,000.00   34,000.00   34,000.00   39.000.00
02/2012
                             6,000.00     17,000.00   17,000.00     11,000.00      34.000.00    28,000.00    23,000.00   56,000.00   34,000.00   34,000.00   39,000.00
03/2012        6.000.00
               6,000.00      6,000.00     17,000.00   17,000.00     11,000.00      34,000.00    23.000.00    23,000.00   56,000.00   34,000.00   34,000.00   39,000.00
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                             6,000.00     17,000.00   17,000.00     ii,OOO.OO      34,000.00    23,000.00    23,0QQ_QQ   56,000.00   34,000.00   34,000.00   39,000.00
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               6,000.00      6,000_00     17,000.00   17,000.00     12,000.00      35,000.00    23,000.00    17,000.00   58,000.00   35,000.00   35,000.00   35,000.00
07/2012
               6,000.00      6,000.00     17,000.00   17,000.00     12,000.00      35,000.00    23,000.00    17,000.00   58.000.00   35,000.00   35,000.00   35,000.00
08/2012
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10/2012        6,000.00




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                                                                                  Schedule 8
Monthly Reimbursement Umit for payments relating to Delinquent Loans

 Date         2003~1       2004~1       2004~2        2005·1       2005·2           2005-3       2006-1       gQQQ:~      2006~;!       2006~4       2007-1       7907-2
11/2012        6.000.00     6,000.00    17,000.00     12,000.00    12,000.00        29,000.00    23~000.00    17,000.00   46,000.00     29,000.00    35,000.00    35,000.00
1212012        6,000.00     6,000.00    17,000.00     12,000.00    12,000.00        29,000.00    23,000.00    17,000.00   46,000.00     29,000.00    35,000.00    35,000.00
01/2013        6,000.00     6,000.00    17,000.00     12,000.00    12,000.00        29,000.00    '17,000.00   17,000.00   4"1 ,000.00   23,000.00    35,000.00    35,000.00
0212013        6,000.00     6,000.00    17,000.00     12,000.00    12,000D0         29,000.00    17,000.00    17,000.00   41,000.00     23,000.00    35,000.00    35,000.00
03/2013        6,000.00     6,000.00    17,000.00     12,000.00    12,000.00        29,000.00    17,000.00    17,000.00   4LOOO.OO      23,000.00    35.000.00    35,000.00
04/2013        6,000.00     6,000.00    12,000.00     12,000.00    12,000.00        23,000.00    17,000.00    12,000.00   41.000.00     23,000.00    29,000.00    :35,000.00
05/2013        6,000.00     6,000.00    12,000.00     12,000.00    12,000.00        23,000.00    17,000.00    i2,000.00   41,000.00     23,000.00    29,000.00    35,000.00
06/2013        6,000.00     6,000.00    12,000.00     12,000.00    12,000.00        23,000.00    17,000.00    12.000.00   41,000.00     23,000.00    29,000.00    35,000.00
07/2013        6,000.00     6,000.00    12,000.00     12,000.00        6,000.00     24,000.00    18,000.00    12,000.00   36,000.00     24,000.00    24,000.00    30,000.00
0812013        6,000.00     6,000.00    12,000.00     12,000.00        6,000.00     24,000.00    18,000.00    12,000.00   36,000.00     24.000.00    24,000.00    30,000.00
               6,000.00     6,00000     12,000.00     12,000.00        6,000.00     24,000.00    18,000.00    12,000.00   36.000.00     24,000.00    24,000.00    30,000.00
0912013
10/2013        6,000.00     6,000.00    12,000.00     12,000.00        6,000.00     24,000.00    18,000.00    12,000.00   36,000.00     18,000.00    24,000.00    24;000.00
11/2013        6,000.00     6,000.00    12,000.00     12,000,00        6,000.00     24,000.00    18,000.00    12,000.00   36,000.00     18,00000     24.000,00    24,000.00
12/2013        6,000.00     6,000.00    12,000.00     12,000.00        6,000.00     24,000.00    18,000.00    12,000.DO   36,000.00     18,000.00    24.000.00    24.000.00
01/2014        6,000.00     6,000.00    12,000.00     12,000.00        6,000.00     24,000.00    18,000.00    12,000.00   30,000.00     18,000.00    24,000DO     24.000.00
02/2014        6,000.00     6,000.00    12,000.00     "!2,000.00       6,000.00     24,000.00    18,000.00    12.000,00   30,000.00     18,000,00    24,000.00    24,000.00
               6,000.00     6,000.00    12,000.00     12,000.00        6,000.00     24,000.00    18,000.00    12,000.00   30,000.00     18,000.00    24,000.00    24,000.00
0312014
04}2014        6,000.00     6,000.00    12,000.00     12.000.00        6,000.00     18.000.00    12,000.00    12,000.00   30,000.00     18,00000     18,0\JO.OO   24,000.00
               6,000.00     6,000.00    12,000.00     12,000.00        6,000.00     18,000.00    12,000.00    12,000.00   30,000.00     18,000.00    18,000.00    24,000.00
05/2014
               6,000.00     6,000.00    12,000.00     i2,000.00        6,000.00     18,000.00    12,000.00    12,000.00   30,000.00     18,000.00    18,000.00    24,000.00
06/2014
               6,000.00     6,000.00    12,000.00      6,000.00        6,000.00     18,000.00    12,000.00    12,000.00   31,000.00     18,000.00    18,000.00    18,000.00
07/2014
                            6,000.00    12,000.00      6,000.00        6,000.00     18,000.00    12,000.00    12,000.00   31,000.00     18,000.00    18,000.00    18,000.00
08/2014        6.000.00
                            6,000.00    12,000.00      6,000.00        6,000.00     18,000.00    12,000.00    12,000.00   31,000.00     18,000.00    18,000,00    18,000.00
0912014 '      6.000.00
                            6,000.00    12,000.00      6,000.00        6,000.00     18,000.00    12,000.00    12,000.00   25,000.00     12,000.00    18,000.00    18,000.00
10/2014
                            6,000.00    i2,000.00      6,000.00        6,000.00     18,000.00    12,000.00    12,000.00   25,000.00     12,000.00    18,000.00    18,000.00
i 1/2014
                            6,000.00    12,000.00      6,000.00        6.000.00     18,000.00    12,000.00    12,000.00   25,000.00     12,000.00    18,000.00    18,000.00
1212014
                                         6,000.00      6,000.00        6,000.00     18,000.00    12,000.00     6,000.00   25,000.00     12,000.00    18,000.00    18,000.00
01/2015
                                         6,000.00      6,000.00        6,000.00     18,000.00    12,000.00     6,00000    25,000.00     12,000.00    18,000.00    18,000.00
02/2015
                                         6,000.00      6,000.00        6,000.00     18,000.00    12,000.00     6,000.00   25,000.00     12,000.00    18,000.00    18,000.00
03/2015
                                         6,000.00      6,000.00        6,000.00     18,000.00    12,000.00     6.000.00   25,000.00     12,000.00    18,000.00    18,000.00
04/2015
                                         6,000.00      6,000.00        6,000.00     18,000.00    12,000.00     6,000.00   25,000.00     12,000.00    18,000.00    18,000.00
05/2015
                                         6,000.00      6,000.00        6,000.00     18,000.00    12,000.00     6,000.00   25,000.00     12,000.00    18,000.00    18,000.00
06/2015
07/2015                                  6,000.00      6,000.00        6,000.00     13,000.00    13,000.00     6,000.00   19,000.00     13,000.00    13,000.00    19,000.00
                                         6,000.00      6,000.00        6,000.00     13,000.00    13,000.00     6,000.00   19,000.00     13,000.00    13,000.00    19,000.00
08/2015
                                         6,000.00      6,000.00        6,000.00     13,000.00    13,000.00     6,000.00   19,000.00     13,000.00    13.000.00    19,000.00
09/2015
                                         6,000.00      6,000.00        6,000.00     13,000.00     6,000.00     6,000.00   19,000.00     13,000.00    13,000.00    i3,000.00
10/2015
1112015                                  6,000.00      6,000.00        6,000.00     13,000.00     6,000.00     6,000.00   19,000.00     13,000.00    13,000.00    13.000.00
                                         6,000.00      6,000.00        6,000.00     13,000.00     6,000.00     6,000.00   19,000.00     13,000.00    13,000.00    13,000.00
12/2015
                                         6,000.00      6,000.00        6,000.00     13,000.00     6,000.00     6,000.00   19.000.00     13,000.00    13,000.00    13,000.00
0"1/2016
                                         6,000.00      6,000.00        6,000.00     13,000.00     6,000.00     6,000.00   19,000.00     "!3,000.00   13,000.00    i 3,000.00
02/2016
                                          6,000.00     6,000.00        6,000.00     13,000.00     6,000.00     6.000.00   19,000.00     13,000.00    !3,000.00    13,000.00
0312016
                                         6,000.00      6,000.00        6,000.00     13,000.00     6,000.00     6,000.00   19,000.00     13,000.00    13,000.00    13,000.00
04./2016
                                         6,000.00      6,000.00        6,000.00     13,000.00     6,000.00     6,000.00   19.000.00     13,000.00    13,000.00    13,000.00
05/2016
                                         6,000.00      6,000.00        6,000.00     13,000.00     6,000.00     6,000.00   19,000.00     13,000.00    13,000.00    13,000.00
06/2016
                                         7,000.00      7,000.00                     i3,000.00     7,000.00     7,000.00   20,000.00       ?,000.00   13,000.00    13,000.00
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                                                                        Schedule B
Monthly Reimbursement Limit for payments relating to Delinquent Loans

 Date         2003-1        2004-1       2004-2       .22!2§.:1     ~     ~            2006-1      2006-2      2006-3      2006-4      :WU.:1      2007:-£
08/2016                                   7,000.00     7,000.00           13,000.00     7,000.00    7,000_00   20,000.00   7.000.00    13,000.00   13,000.00
09/2016                                   7,000.00     7,000.00           13,000.00     7,000.00    7,000.00   20,000.00   7,000.00    13,000.00   !3,000.00
10/2016                                   7,000.00                         7,000.00     7,000.00    7,000.00   13,000.00   7,000.00    13,000.00   13,000.00
11/2016                                   7,000.00                         7,000.00     7,000.00    7,000.00   13,000.00   7,000.00    13,000.00   13,000.00
12!2016                                   7,000.00                         7,000.00     7,000.00    7,000.00   13,000.00   ?,000.00    13.000.00   13,000.DO
01/2017                                                                    1,000.00     7,000.00    7,000.00   13,000.00   7.000.00     7.000.00   13,000.00
02/2017                                                                    7,000.00     7,000.00    7,000.00   13,000.00   7,000.00     7,000.00   13,000.00
03/2017                                                                    7,000.00     7,000.00    7,000.00   13,000.00   7,000.00     7.000.00   13,000.00
04/2017                                                                    7,000.00     7.000.00    7,000.00   13,000.00   7,000.00     7,000.00    7,000.00
05/2017                                                                    7,000.00     7,000.00    7,000.00   13,000.00   7,000.00     7,DOO.OO    7,000.00
06/2017                                                                    7,00000     7,000.00     7.000.00   13,000.00   7,000.00     7,000.00    7,000.00
()}/2017                                                                   7,000.00    7,000.00    7.000.00    13,000.00    7,000.00    7,000.00    7,000.00
0812017                                                                    7.000.00    7,000.00    7,000.00    13,000.00   7,000.00     7,000.00    7,000.00
09/2017                                                                    7,000.00    7,000.00     7,000.00   13.000.00   7,000.00     7,000.00    7.000.00
                                                                           7,000.00    7,000.00                 7,000.00   7,000.00     7,000.00    7,000.00
10/2017
11/2017                                                                    7,000.00    7,000.00                 7,000.00   7,000.00     7,000.00    7,000.00
                                                                           7,000.00    7,000.00                 7,000.00   7,000.00     7,000.00    7,000.00
12/2017
                                                                           7,000.00                             7,000.00   7.000.00     7,000.00    7,000.00
01/2018
02/2018                                                                    7,000.00                             7,000.00   7,000.00     7,000.00    7,000.00
                                                                           7,000.00                             7,000.00   7,000.00     7,000.00    7,000.00
03/2018
                                                                           7,000.00                             7,000.00   7,000.00     7,000.00    7,000.00
04/2018
                                                                           7,000_00                             7.000.00   7,000.00     7.000.00    7,000.00
05/2018
                                                                           7,000.00                             7,000.00   7,000.00     7,000.00    7,000.00
06i2018
                                                                                                                7,000.00   7,000.00     7,000.00    7,000.00
07/20i8
08/2018                                                                                                         7,000.00    7,000.00    7,000.00    7,000.00
                                                                                                                ?,000.00    7,000.00    ?,000.00    7,000.00
09/2018
                                                                                                                7,000.00                7,000.00    7,000.00
10/2018
11/2018                                                                                                         7,000.00                7,000.00    7,000.00
                                                                                                                7,000.00                7,000.00    7,000.00
12/2018
01/2019                                                                                                         7,000.00                7,000.00    7,000.00
                                                                                                                7,000.00                7.000.00    7,000.00
02!2019
03/2019                                                                                                         7,000.00                7,000.00    7,000.00
04/2019                                                                                                         7,000.00
05/2019                                                                                                         7.000.00
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                       [Schedule of Early Awareness Reimbursement Limits per Trust]




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                                                                      Schedule C
Lifetime Expense limit for payments relating to Early Awareness Program



  2.!lJ&1       2004~1       2004--2       2005·1        2005~2        2005-3        2006·1        2006~2        2006~3        ~~            2007-1        2007·2
 $17,000.00   $34,000.00   $149,000.00   $123,000.00   $105,000.00   $345,000.00   $257,000.00   $180.000.00   $527,000.00   $305,000.00   $416,000.00   $400,000.00
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                                                     EXHIBIT I

      All TER! claim packages require the following documentation:

      *               Application, Credit Agreement, and Disclosure Statement

      *        Evidence of preparation for repayment summary letter and
      telephone attempts

      *        Forbearance Form(s) and supporting documentation where
      required and/or system generated history reflecting the forbearance
      period

      *         Delinquency servicing history for the most recent 210 day
      period or the delinquency period prior to claim, whichever is less.

      *               Payment History, Correspondence History

      *        Assignment of Rights (should include disbursement date and
      name of the current Ovvner)

       *      Bankruptcy and/or death infonnation as appropriate (see
      Death Claim section)



      For Non-TERI Originated Loans the claim package must also include the
      following documentation:

       *              Credit Bureau Report (for non-TERI originated loans only)

       *         School Certification signed by school official or
       Enrollment Verification for Direct-to-Consumer and Continuing Education
       loans (for non-TERI originated loans only)

       *          Income/Employment Documentation, including but not
       limited to, where applicable, full recourse letter, income verification
       letter, and revolving debl burden calculation (for non-TERJ originated
       loans only)

       •         Immigration documentation required to be collected at
       origination (tlk/a U.S. Citizenship and Immigration Service (USCTS))
       documentation of proof of permanent U.S. residency (if applicable) (for
       non-TERI originated loans only):




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      Cosigners:

                               INS 151 or INS 551 fonn with a valid expiration;

      *               A departure record (1-94) with a valid expiration
      date issued t!·om the INS showing "Refugee." or "Asylum Granted" or
      "Indefinite Parole" and/or humanitarian parole; or

      *                        Foreign passport bearing an unexpired temporary
      I-551 stamp.

      Students:

      *               Copy of his or her student visa, permanent
      resident card, F-1 or I -20 form.

      *              A departure record (1-94) with a valid expiration
      date issued from the INS showing "Refugee," or "Asylwn Granted" or
      "Indefinite Parole" and/or humanitarian parole; or

      *                         INS 151 or INS 551 form with a valid expiration;

      For a Rehab Loan, the required claim docwnentation includes:

      *                  Application, Credit Agreement

      *                  Repurchase Disclosure Statement

      *     Assignment of Rights {should include disbursement date and
      name of the current Owner)

      *                  Payment History. Correspondence History

      *      Delinquency servicing history for the most recent 210 day
      period or the delinquency period prior to claim, whichever is less.

      *      Bankruptcy and/or death information as appropriate (see Death
      Claim section)

      In the event of a rolling delinquency, the Servicer will submit the
      history for the most recent 210 days or the delinquency period prior to
      claim, whichever is less. This may not include all delinquency
      servicing activities for the loan (e.g., activities perfom1ed in the
      early states of delinquency due to the fact the Borrower rolled several
      times during the delinquency period).




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      TERI will accept microfilm or electronic copies of all original
      docmnents with the claim package. In the event that the Servicer is
      unable to secure the original wet signature Credit agreement, TERI will
      accept a copy of such Note if it is accompanied by a notarized affidavit
      ceriifying that the original is not available and that the copy is a
      true one.

      Further, the complete copy of the Note must contain the signatures of
      all obligors of the note. If a court of competent jurisdiction refuses
      to accept the submitted copy of a note in the event that TERI must
      litigate a case. and TERI!oses the case for that reason, TERI will be
      reimbursed by the Loan Owner for the amount that TERT paid to the Owner
      via the Servicer on the claim.

      TERI, the Owner, and the Servicer acknowledge there may be contractual
      agreements between Owner and Servicer goveming the entity responsible
      for reimbursing TERl the an1otmt of the claim if a court of competent
      jurisdiction refuses to accept such a copy of a Note.

      TERI will make its best effort to send claim payments to the Servicer
      90-120 days after the claim has been submitted. Claim payments shall
      include accrued interest through the payoff date.




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                                       EXHIBIT II

                                     [NCO Agreement]




                                          Exhibit Il-l
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